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21-03-5380
                  IN THE UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION

DAMIEN STEWART,                            )
                                           )
                   Plaintiff,              )
                                           )
             v.                            )      No.   21 cv 02671
                                           )
CITY OF CHICAGO, DELGADO                   )      Judge Andrea R. Wood
FERNANDEZ, #12335, and JERALD              )
WILLIAMS                                   )      Magistrate Judge Jantz
                                           )
                   Defendants.             )




                                 EXHIBIT A
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18-03-5381
                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DAMIEN STEWART,                               )
                                              )
                       Plaintiff,             )
                                              )
               v.                             )      No.     21 cv 2671
                                              )
CITY OF CHICAGO, and CHICAGO                  )
POLICE OFFICERS DELGADO                       )      Judge Andrea R. Wood
FERNANDEZ, #12335, and JERALD                 )
WILLIAMS, #3317,                              )      Magistrate Judge Jantz
                                              )
                                              )
                       Defendants.            )

                    AGREED CONFIDENTIALITY PROTECTIVE ORDER

       The parties to this Agreed Confidentiality Protective Order have agreed to the terms of

this Order; accordingly, it is ORDERED:

       1.      Scope. All materials produced or adduced in the course of discovery, including

initial disclosures, responses to discovery requests, deposition testimony and exhibits, and

information derived directly therefrom (hereinafter collectively “documents”), shall be subject to

this Order concerning Confidential Information as defined below. This Order is subject to the

Local Rules of this District and the Federal Rules of Civil Procedure on matters of procedure and

calculation of time periods.

       2.      Confidential Information. As used in this Order, “Confidential Information”

means information designated as “CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER” by

the producing party that falls within one or more of the following categories: (a) information

protected from disclosure by statute, including the Illinois Freedom of Information Act (FOIA), 5

ILCS 140/1, et seq.; (b) information that reveals trade secrets; (c) research, technical, commercial
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or financial information that the party has maintained as confidential; (d) medical information

concerning any individual; (e) personal identity information; (f) income tax returns (including

attached schedules and forms), W-2 forms and 1099 forms; (g) personnel or employment records

of a person who is not a party to this case; (h) employment, disciplinary, or other information that

is of a sensitive or non-public nature regarding plaintiffs, defendants, non-party witnesses, non-

party employees of the City of Chicago. Such information includes, but is not limited to, private

information in personnel files, such as employment applications, performance evaluations, tax

forms, requests for medical leave and the like as well as personal and family information of police

officers and state’s attorneys, including residential information; and (i) any information contained

within the following file materials that are otherwise prohibited from public disclosure by statute:

       Any disciplinary actions, files and attachments to such files generated by the investigation

of deaths in custody, uses of deadly force, and complaints of misconduct by Chicago police officers

(generally referred to as “Log Number” files, “Complaint Register” (CR) files, “Universal” (U)

files, or “Extraordinary Occurrence” (EO) files, or “Non-Disciplinary Intervention” (NDI) files)

(collectively hereinafter referred to as “Log Files”), or by internal Chicago Police Department

“Summary Punishment Action Requests” (SPARs). The parties reserve the right to seek greater

protection of information or documents designated as Confidential Information through Court

intervention or by agreement of the parties.

       3.      Designation.

       (a)     A party may designate a document as Confidential Information for protection under

this Order by placing or affixing the words “CONFIDENTIAL - SUBJECT TO PROTECTIVE

ORDER” on the document and on all copies in a manner that will not interfere with the legibility

of the document. As used in this Order, “copies” includes electronic images, duplicates, extracts,




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summaries or descriptions that contain the Confidential Information.                 The marking

“CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” shall be applied prior to or as soon

as practicable after the documents are produced or disclosed.              Applying the marking

“CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” to a document does not mean that

the document has any status or protection by statute or otherwise except to the extent and for the

purposes of this Order. Any copies that are made of any documents marked “CONFIDENTIAL -

SUBJECT TO PROTECTIVE ORDER” shall also be so marked, except that indices, electronic

databases or lists of documents that do not contain substantial portions or images of the text of

marked documents and do not otherwise disclose the substance of the Confidential Information

are not required to be marked.

       (b)     The designation of a document as Confidential Information is a certification by an

attorney or a party appearing pro se that the document contains Confidential Information as

defined in this order.

       4.      Depositions.

       Deposition testimony, including exhibits, is protected by this Order only if designated as

"CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER" on the record at the time the

testimony is taken. Such designation shall be specific as to the portions that contain Confidential

Information. Deposition testimony or exhibits so designated shall be treated as Confidential

Information protected by this Order. Within fourteen days after delivery of the transcript, a

designating party may serve a Notice of Designation to all parties of record identifying additional

specific portions of the transcript or exhibits that are designated Confidential Information, and

thereafter those additional portions identified in the Notice of Designation shall also be protected

under the terms of this Order. The failure to serve a timely Notice of Designation waives any




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designation of additional deposition testimony or exhibits as Confidential Information, unless

otherwise ordered by the Court.

       5.      Protection of Confidential Material.

       (a)     General Protections. Confidential Information shall not be used or disclosed by

the parties, counsel for the parties or any other persons identified in subparagraph (b) for any

purpose whatsoever other than in this litigation, including any appeal thereof.

       (b)     Limited Third-Party Disclosures. The parties and counsel for the parties shall

not disclose or permit the disclosure of any Confidential Information to any third person or entity

except as set-forth in subparagraphs (1)-(10). Subject to these requirements, the following

categories of persons may be allowed to review Confidential Information:

       (1)     Counsel. Counsel for the parties and employees of counsel who have responsibility
               for the preparation and trial of the action;

       (2)     Parties. Individual parties and employees and insurance carriers of a party but only
               to the extent counsel determines in good faith that the employee’s assistance is
               reasonably necessary to the conduct of the litigation in which the information is
               disclosed or, in the case of insurance carriers, that the actual or alleged coverage or
               contract with the insurance carrier(s) pertains, may pertain, or allegedly pertains to
               the litigation;

       (3)     The Court and its personnel;

       (4)     Court Reporters and Recorders. Court reporters and recorders engaged for
               depositions;

       (5)     Contractors. Those persons specifically engaged for the limited purpose of
               making copies of documents or organizing or processing documents, including
               outside vendors hired to process electronically stored documents;

       (6)     Consultants and Experts. Consultants, investigators, or experts employed by the
               parties or counsel for the parties to assist in the preparation and trial of this action
               but only after such persons have completed the certification contained in
               Attachment A, Acknowledgment of Understanding and Agreement to Be Bound;

       (7)     Witnesses at depositions. During their depositions, witnesses in this action to
               whom disclosure is reasonably necessary. Witnesses shall not retain a copy of
               documents containing Confidential Information, except witnesses may receive a



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               copy of all exhibits marked at their depositions in connection with review of the
               transcripts. Pages of transcribed deposition testimony or exhibits to depositions
               that are designated as Confidential Information pursuant to the process set out in
               this Order must be separately bound by the court reporter and may not be disclosed
               to anyone except as permitted under this Order.

       (8)     Author or recipient. The author or recipient of the document (not including the
               person who received the document in the course of the litigation);

       (9)     Individuals interviewed in the course of litigation. Individuals interviewed as
               part of a party’s investigation in this litigation for whom disclosure is reasonably
               necessary for the purpose of that investigation. The only Confidential Information
               that may be disclosed to these individuals is information that is reasonably
               necessary to disclose for the purpose of investigation in this litigation and such
               information may be disclosed only after such persons have completed the
               certification contained in Attachment B, Acknowledgment of Understanding and
               Agreement to Be Bound. Such individuals may not retain any copy, including but
               not limited to electronic or physical duplications, of any documents or other
               materials containing Confidential Information; and

       (10)    Others by Consent. Other persons only by written consent of the producing party
               or upon order of the Court and on such conditions as may be agreed or ordered.

       (c)     Control of Documents. Counsel for the parties shall make reasonable efforts to

prevent unauthorized or inadvertent disclosure of Confidential Information.            Counsel shall

maintain the originals of the forms signed by persons acknowledging their obligations under this

Order for a period of three years after the termination of the case.

       6.      Redaction of Personal Identifying Information. Notwithstanding the foregoing

provisions, the responding party shall have the right to redact from all documents produced in

discovery social security numbers, dates of birth, and information covered by the Juvenile Court

Act, as well as, for security reasons, all references to a current or former individual police

officer’s confidential information about him/herself and his/her family, including but not limited

to, social security number, home address, home and cellular telephone number(s), personal email

address(es), the names of family members and the names of insurance beneficiaries.




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       7.      Inadvertent Failure to Designate. An inadvertent failure to designate a

document as Confidential Information does not, standing alone, waive the right to so designate

the document; provided, however, that a failure to serve a timely Notice of Designation of

deposition testimony as required by this Order, even if inadvertent, waives any protection for

deposition testimony. If a party designates a document as Confidential Information after it was

initially produced, the receiving party, on notification of the designation, must make a reasonable

effort to assure that the document is treated in accordance with the provisions of this Order. No

party shall be found to have violated this Order for failing to maintain the confidentiality of

material during a time when that material has not been designated Confidential Information, even

where the failure to so designate was inadvertent and where the material is subsequently

designated Confidential Information.

       8.      Filing of Confidential Information. This Order does not, by itself, authorize the

filing of any document under seal.        Any party wishing to file a document designated as

Confidential Information in connection with a motion, brief or other submission to the Court must

comply with Local Rule 26.2.

       9.      No Greater Protection of Specific Documents. Except on privilege grounds

not addressed by this Order, no party may withhold information from discovery on the ground that

it requires protection greater than that afforded by this Order unless the party moves for an order

providing such special protection.

       10.     Challenges by a Party to Designation as Confidential Information.                  The

designation of any material or document as Confidential Information is subject to challenge by

any party. The following procedure shall apply to any such challenge.




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       (a)     Meet and Confer. A party challenging the designation of Confidential Information

must do so in good faith and must begin the process by conferring directly with counsel for the

designating party. In conferring, the challenging party must explain the basis for its belief that the

confidentiality designation was not proper and must give the designating party an opportunity to

review the designated material, to reconsider the designation, and, if no change in designation is

offered, to explain the basis for the designation. The designating party must respond to the

challenge within five (5) business days.

       (b)     Judicial Intervention.       A party that elects to challenge a confidentiality

designation may file and serve a motion that identifies the challenged material and sets forth in

detail the basis for the challenge. Each such motion must be accompanied by a competent

declaration that affirms that the movant has complied with the meet and confer requirements of

this procedure. The burden of persuasion in any such challenge proceeding shall be on the

designating party. Until the Court rules on the challenge, all parties shall continue to treat the

materials as Confidential Information under the terms of this Order.

       11.     Action by the Court. Applications to the Court for an order relating to materials

or documents designated Confidential Information shall be by motion. Nothing in this Order or

any action or agreement of a party under this Order limits the Court’s power to make orders

concerning the disclosure of documents produced in discovery or at trial.

       12.     Use of Confidential Information at Trial.           Nothing in this Order shall be

construed to affect the admissibility of any document, material, or information at any trial or

hearing. A party that intends to present or which anticipates that another party may present

Confidential Information at a hearing or trial shall bring that issue to the Court’s and parties’

attention by motion or in a pretrial memorandum without disclosing the Confidential Information.




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The Court may thereafter make such orders as are necessary to govern the use of such documents

or information at trial.

        13.     Confidential Information Subpoenaed or Ordered Produced in Other
                Litigation.

        (a)     If a receiving party is served with a subpoena or an order issued in other litigation

that would compel disclosure of any material or document designated in this action as Confidential

Information, the receiving party must so notify the designating party, in writing, immediately and

in no event more than three court days after receiving the subpoena or order. Such notification

must include a copy of the subpoena or court order.

        (b)     The receiving party also must immediately inform in writing the party who caused

the subpoena or order to issue in the other litigation that some or all of the material covered by the

subpoena or order is the subject of this Order. In addition, the receiving party must deliver a copy

of this Order promptly to the party in the other action that caused the subpoena to issue.

        (c)     The purpose of imposing these duties is to alert the interested persons to the

existence of this Order and to afford the designating party in this case an opportunity to try to

protect its Confidential Information in the court from which the subpoena or order issued. The

designating party shall bear the burden and the expense of seeking protection in that court of its

Confidential Information, and nothing in these provisions should be construed as authorizing a

receiving party in this action to disobey a lawful directive from another court. The obligations set

forth in this Paragraph remain in effect while the party has in its possession, custody or control

Confidential Information by the other party to this case.

        14.     Challenges by Members of the Public to Sealing Orders. A party or interested

member of the public has a right to challenge the sealing of particular documents that have been




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filed under seal, and the party asserting confidentiality will have the burden of demonstrating the

propriety of filing under seal.

       15.     Obligations on Conclusion of Litigation.

       (a)     Order Continues in Force. Unless otherwise agreed or ordered, this Order shall

remain in force after dismissal or entry of final judgment not subject to further appeal.

       (b)     Obligations at Conclusion of Litigation. Within sixty-three days after dismissal

or entry of final judgment not subject to further appeal, all Confidential Information and documents

marked “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” shall be returned to the

producing party unless: (1) the document has been offered into evidence or filed without

restriction as to disclosure; (2) the parties agree to destruction in lieu of return; or (3) as to

documents bearing the notations, summations, or other mental impressions of the receiving party,

that party elects to destroy the documents and certifies to the producing party that it has done so.

       (c)     Retention of Work Product and one set of Filed Documents. Notwithstanding

the above requirements to return or destroy documents, counsel may retain (1) attorney work

product, including an index that refers or relates to designated Confidential Information so long as

that work product does not duplicate verbatim substantial portions of Confidential Information,

and (2) one complete set of all documents filed with the Court including those filed under seal.

Any retained Confidential Information shall continue to be protected under this Order. An attorney

may use his or her work product in subsequent litigation, provided that its use does not disclose or

use Confidential Information.

       (d)     Deletion of Documents filed under Seal from Electronic Case Filing (ECF)

System. Filings under seal shall be deleted from the ECF system only upon order of the Court.




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       16.      Order Subject to Modification. This Order shall be subject to modification by

the Court on its own initiative or on motion of a party or any other person with standing concerning

the subject matter.

       17.      No Prior Judicial Determination.          This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery. Nothing

herein shall be construed or presented as a judicial determination that any document or material

designated Confidential Information by counsel or the parties is entitled to protection under Rule

26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the Court may rule

on a specific document or issue.

       18.      Persons Bound. This Order shall take effect when entered and shall be binding

upon all counsel of record and their law firms, the parties, and persons made subject to this Order

by its terms.



So Ordered.

Dated: ___________________, 2021



                                                  ___________________________________
                                                  The Honorable Judge Andrea R. Wood
                                                  District Judge, U.S. District Court for the
                                                  Northern District of Illinois




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                                        ATTACHMENT A

18-03-5381
                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

DAMIEN STEWART,                                )
                                               )
                       Plaintiff,              )
                                               )
               v.                              )       No.     21 cv 2671
                                               )
CITY OF CHICAGO, and CHICAGO                   )
POLICE OFFICERS DELGADO                        )       Judge Andrea R. Wood
FERNANDEZ, #12335, and JERALD                  )
WILLIAMS, #3317,                               )       Magistrate Judge Jantz
                                               )
                                               )
                       Defendants.             )

               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

       The undersigned hereby acknowledges that he/she has read the Confidentiality Order
dated ____________________ in the above-captioned action and attached hereto, understands
the terms thereof, and agrees to be bound by its terms. The undersigned submits to the
jurisdiction of the United States District Court for the Northern District of Illinois in matters
relating to the Confidentiality Order and understands that the terms of the Confidentiality Order
obligate him/her to use materials designated as Confidential Information in accordance with the
Order solely for the purposes of the above-captioned action, and not to disclose any such
Confidential Information to any other person, firm or concern.
       The undersigned acknowledges that violation of the Confidentiality Order may result in
penalties for contempt of court.
       Name:

       Job Title:

       Employer:

       Business
       Address:
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Date: ___________________            Signature:




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                                        ATTACHMENT B

18-03-5381
                        IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

DAMIEN STEWART,                               )
                                              )
                       Plaintiff,             )
                                              )
               v.                             )         No.   21 cv 2671
                                              )
CITY OF CHICAGO, and CHICAGO                  )
POLICE OFFICERS DELGADO                       )         Judge Andrea R. Wood
FERNANDEZ, #12335, and JERALD                 )
WILLIAMS, #3317,                              )         Magistrate Judge Jantz
                                              )
                                              )
                       Defendants.            )

               ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

       1.      The undersigned hereby acknowledges (a) that the terms of the Confidentiality
Order dated ____________________ in the above-captioned action and attached hereto have
been described and explained to him/her, (b) that he/she understands those terms, and (c) that
he/she agrees to be bound by its terms.
       2.      The undersigned understands that the terms of the Confidentiality Order obligate
him/her to keep Confidential Information confidential in accordance with the Order solely for the
purposes of the above-captioned action.
       3.      The undersigned understands and agrees to keep Confidential Information in strict
confidence. The undersigned understands that he/she is not to disclose or share any Confidential
Information to or with any person or entity. The undersigned further understands that he/she is
specifically prohibited from disclosing or sharing any Confidential Information to any person or
entity in any manner whatsoever, including, but not limited to, orally, in writing, or any other
method of communication.
       4.      The undersigned acknowledges that violation of the Confidentiality Order may
result in penalties for contempt of court.
       Name:



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      Address:



      Telephone Number: ___________________________________________________

Date: ___________________            Signature:




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